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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA                                     FILED
                                                                                      Scott L. Poff, Clerk
                              BRUNSWICK DIVISION                                   United States District Court

                                                                               By staylor at 4:58 pm, Feb 15, 2019



 UNITED STATES OF AMERICA

        v.                                               CASE NO.: 218-cr-36

 ZANABA R. MANET,

                Defendant.

                                           ORDER

       This matter is before the Court on Defendant’s First Motion to Withdraw as Attorney by

Adrienne B. Browning as to Defendant Zanaba R. Manet, doc. 54. The Court held an Attorney

Inquiry Hearing on February 15, 2019. After hearing from the parties, and after consideration,

and for good cause shown, the Court hereby GRANTS Adrienne Browning’s Motion to

Withdraw from the case.

       SO ORDERED, this 15th day of February, 2019.




                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
